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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


Randall Collier

     v.                                         Case No. 25-cv-36-SE-TSM

NH Circuit Court Family Division, et al



                                  ORDER

     Plaintiff Randall Collier has filed a motion for reconsideration

(Doc. No. 6) to the Report and Recommendation (R&R) which the Court

construes as an objection to the R&R. So construed, I herewith approve

the R&R of Magistrate Judge Talesha L. Saint-Marc dated March 24, 2025.

For the reasons explained therein, I deny Mr. Collier’s § 2241

Petition (Doc. No. 1), for lack of jurisdiction. All other pending

motions are denied as moot.

     The clerk shall enter judgment and close this case.



                                          ____________________________
                                          Samantha D. Elliott
                                          United States District Judge

Date: April 16, 2025


cc: Randall Collier, pro se
